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                          CERTIFICATE OF SERVICE

      Pursuant to Rule 8011(d)(1)(B) and Local Rule 5.5(a)-(b), I hereby certify that
on March 16, 2018, I filed the foregoing Response in Opposition to Motion for Leave
to Appeal with the U.S. District Court for the Northern District of Illinois, using the
Court’s CM/ECF system, causing notice of the filing to be transmitted by e-mail to
counsel of record for Whitebox Advisors LLC, and that I separately e-mailed
Whitebox’s counsel a service copy of the foregoing at the following addresses:

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                                             /s/ Jeffrey Chubak
